  A() 247 (O2/Ot) Case    5:94-cr-00002-RSB-BWC
                  order Regarding Motion for Sentence Reduction   Document 179 Filed 05/29/08 Page 1 of 1

                                      UNITED STATES DISTRICT COURT
                                                                     forthe

                                                         Southern District of Georgia
                                                                                                            ,
                                                                                                                9 /'Jl Q:
                   United States of America                           )

                                                                      ) Case No: CR5 94-000020O1•
                          Harry R Martin
                                                                      ) USMNo: 08546-021
Date of Previous Judgment: January 26, 1998                           ) Jeffrey S. Parker
(Use Date of Last Amended Judgment if Applicable)                     ) Defendant's Attorney


                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.SC. § 3582(c)(2)

        Upon motion of        the defendant LJthe Director of the Bureau of Prisons jthe court under 18 u.s.c.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,

IT IS ORDERED that the motion is:
             DENIED.             GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                             thelast judgment issued) of ________________ months is reduced to ________________________

I. COURT DETERMiNATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    35                                             Amended Offense Level:     35
Criminal History Category: VI                                             Criminal History Category: VI
Previous Guideline Range: 292                   to 365 months             Amended Guideline Range: 292 to 365 months

IL SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
   The reduced sentence is within the amended guideline range.
R The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
LJ Other (explain):



111. ADDiTIONAL COMMENTS

The retroactive amendment is not applicable to this defendant since his offense involved more than 4.5 kilograms of
cocaine base.


Except as provided above, all provisions of the judgment dated                January 26, 1998, shall remain in effect.
IT IS SO ORDERED.                                                                               ______

Order Date:        May 29, 2008
                                                                                               Judge's


                                                                          B. Avant Edenfield
                                                                          United States District Judge
Effective Date: _______________________                                   For the Southern District of Georgia
                    (if different from order date)                                         Printed name and title
